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                                                                             gy                     DEPUTY,




                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

  UNITED STATES OF AMERICA,                                  CASE NUMBER
                                                 PLAINTIFF
                            v.                                     2:18-MJ-02791-1


  ROBERT PAUL RUNDO,                                            ORDER OF TEMPORARY DETENTIO1oT
                                                                  PENDING HEARING PURSUANT
                                           ~EFeN~ANT~s>.             TO BAIL REFORM ACT


     Upon motion of defendant                                        , IT IS ORDERED that a detention hearing
is set for                       Wednesday, October 24 , 2018        , at  10:00      a.m. / ❑p.m. before the
Honorable Karen L. Stevenson                                         , in Courtroom 580

     Pending this hearing, the defendant shall be held in custody by the United States Marshal or
                                                                             and produced for the hearing.
                      (Other custodial office)




1. - ~ =/ ► ~                      I /J                               ~~.,.titit.C~rt~l ~-~►
                                                 U.S.                   strate Judge




                   ORDER OF TEMPORARti' DETENTION PF,NDING HEARING PURSUANT 7'O BAIL REFORM ACT
CR-66 (10/97)                                                                                             Page I of
